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ADVERSARY PROCEEDING COVER SHEET                                      ADVERSARY PROCEEDING NUMBER
                                                                      (Court use only)
PLAINTIFFS                                                            DEFENDANT
Linda Anderson Brown                                                  Auto Money, Inc.
ATTORNEYS(Firm Name, Address and Telephone No.)                       ATTORNEYS(If Known)
Ann U. Bell, District ID # 10372
Ann U. Bell, Attorney at Law
(843) 636-3882
P.O. Box 80013
Charleston, SC 29416
PARTY (Check one box only). 1. U.S. Plaintiff                . 2. U.S. Defendant          3. U.S. Not a Party
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Core Proceeding pursuant to 28 U.S.C. Sec. 157(b)(2)(K) regarding the violation of the discharge injunction.

                                                    NATURE OF SUIT
                                        (Check the one most appropriate box only)
. 454 To recover money or property
. 455 To revoke an order of confirmation of a Chap. 11 or Chap 13 Plan
. 456 To obtain a declaratory judgment relating to any of the foregoing causes of action
. 435 To determine validity, priority,or extent of a lien or other interest in property
. 426 To determine the dischargeability of a debt 11 U.S.C. § 523
. 459 To determine a claim or cause of action removed to a bankruptcy court
. 458 To obtain approval for the sale of both the interest of the estate and of a co-owner in property
. 434 To obtain an injunction or other equitable relief
   498 Other (specify) Sec. 524 To determine the violation of the discharge injunction
. 424 To object to or revoke a discharge 11 U.S.C. § 727
. 457 To subordinate any allowed claim or interest
ORIGIN OF PROCEEDINGS 1. Original Proceeding . 2. Removed Proceeding . 4. Transferred to another
Bankruptcy Court . 5. Reinstated or reopened . Check if this is a class action under FRCP 23
DEMAND            NEAREST THOUSAND                  OTHER RELIEF SOUGHT                             . JURY DEMAND
                  $ To Be Determined                DECLARATORY JUDGMENT
                                                    RE: Discharge Violation
                       BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR(S)                                                                 BANKRUPTCY CASE NO.
Jasper Brown, Jr. and Linda Anderson Brown                                        19-05222
DISTRICT IN WHICH CASE IS PENDING DIVISIONAL OFFICE                                        NAME OF JUDGE
South Carolina                                                                             Elisabetta Gasparini
                                   RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF              DEFENDANT                                                  ADVERSARY PROCEEDING NO.

DISTRICT                                   DIVISIONAL OFFICE                                        NAME OF JUDGE

FILING FEE (Check one box only)          . Fee Attached   Fee Not Required           . Fee is Deferred
DATE                                   PRINT NAME OF ATTORNEY        SIGNATURE OF ATTORNEY
January 26, 2023                       ANN U. BELL                   /s/ Ann U. Bell
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                                        UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF SOUTH CAROLINA

IN RE:                                                          )
                                                                )
JASPER BROWN, JR.                                               )
                                                                )
and                                                             )
                                                                )
LINDA ANDERSON BROWN                                            )        Bankruptcy Case No. 19-05222
                                                                )        Chapter 13
                           Debtors,                             )


LINDA ANDERSON BROWN,                                           )
                                                                )        Adversary Case No.
                           Plaintiff,                           )
                                                                )
         vs.                                                    )        COMPLAINT
                                                                )
AUTO MONEY, INC.                                                )
                                                                )
                      Defendant.                                )
___________________________________                         _    )

         Plaintiff, Linda Brown, would respectfully allege as follows:

        1. Plaintiff filed a chapter 13 action on October 4, 2019, listing Defendant, Auto Money, Inc., as an interested
party and notice was duly provided this entity. Plaintiff’s joint Debtor in the case died during the pendency of the
Chapter 13.

          2. Defendant filed a timely Proof of Claim on October 28, 2019, in the amount of $797.82, secured by a
2000 Chevrolet S10, VIN # 1GCCS1945YK167120. Plaintiff’s plan was confirmed by order of the bankruptcy court
entered on December 18, 2019. During Plaintiff’s bankruptcy, the trustee paid the balance of Defendant’s secured
claim as stated in the confirmed plan, together with interest, as required under the plan. An Order discharging the
Plaintiff was entered August 29, 2022.

        3. After the discharge was issued, Plaintiff requested the title from Defendant via a letter dated November
10, 2022, but said title was not forthcoming.

           4. Plaintiff’s counsel sent Defendant a certified letter dated December 8, 2022 requesting the title, but
said title was not forthcoming.

         5. Neither the title, nor a release of lien, has been forthcoming from Defendant.

          6. This court has jurisdiction of this matter under 28 U.S.C. § 1334. This is a core proceeding under 28
U.S.C. § 157. Venue is appropriate under 28 U.S.C. § 1409.

         7. Plaintiff’s Chapter 13 plan contains the following Court-approved standard language: “any secured
creditor paid the allowed secured claim provided for by this plan shall satisfy its liens at the earliest of the time
required by applicable state law, order of this Court, or thirty (30) days from the entry of the discharge. Plaintiff
believes that Defendant has violated this obligation imposed upon it by the Court and its continued failure to comply
represents an ongoing violation thereof.
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         8. Plaintiff believes that the actions of Defendant constitute a violation of the discharge injunction of 11
U.S.C. § 524. Plaintiff further believes that under 11 U.S.C. § 105 this court has power to issue an order for
Defendant’s contempt which necessitated this chain of events, causing Plaintiff unnecessary costs, attorney=s fees
and damages.

         WHEREFORE, Plaintiff would ask this court to fashion a remedy which this court believes to be fair and
equitable.

                                                              ANN U. BELL, ATTORNEY AT LAW




                                                              BY: /s/Ann U. Bell
                                                                      Ann U. Bell
                                                                      District Court I.D. #10372
                                                                      Attorneys for Plaintiff
                                                                      P.O. Box 80013
Charleston, South Carolina                                            Charleston, SC 29416
Dated: January 26, 2023                                                (843) 636-3882




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